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 7
     Attorneys for Plaintiff
 8
 9                     UNITED STATES DISTRICT COURT
                   DISTRICT OF ARIZONA, PHOENIX DIVISION
10
11   Richard Winters Jr., individually and on ) Case No.: 2:20-cv-01487-MTL
     behalf of all others similarly situated, )
12                                            ) CLASS ACTION
13   Plaintiff,                               )
                                              ) NOTICE OF SETTLEMENT
14
            vs.                               )
15                                            )
16   Humana, Inc.                             )
                                              )
17   Defendant.                               )
18                                            )
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                               NOTICE OF SETTLEMENT
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 1          Please take notice: Plaintiff Richard Winters, Jr. (“Plaintiff”) and

 2   Defendant Humana, Inc. (“Humana”) have settled this matter. Plaintiff and
 3
     Humana intend to file a stipulation to dismiss Plaintiff’s claims against Humana
 4
 5   with prejudice and the putative class’s claims without prejudice within 45 days of
 6
     this notice.
 7
 8
 9   Dated: April 27, 2021           Kazerouni Law Group, APC
10
                                     By: /s/ Ryan L. McBride
11                                   Ryan L. McBride
12
                                     Counsel for Plaintiff
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                                 NOTICE OF SETTLEMENT
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